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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

 MANSIONS PHASE ONE, LLC d/b/a
 THE MANSIONS AT CANYON CREEK,
 PRAIRIE STAR ASSOCIATES, LLC, and
 MANSIONS AT CANYON CREEK
 APARTMENTS, LLC,

          Plaintiffs,

                           v.                  Civil Action No. 2:20-cv-2106-JAR

 SIMPLEX GRINNELL LP n/k/a JOHNSON
 CONTROLS FIRE PROTECTION LP,

          Defendant.




                           AGREED PROTECTIVE ORDER

       The parties agree that during the course of discovery it may be necessary to disclose

certain confidential information relating to the subject matter of this action. They agree

that certain categories of such information should be treated as confidential, protected from

disclosure outside this litigation, and used only for purposes of prosecuting or defending

this action and any appeals. The parties jointly request entry of thi Protective Order to

limit the disclosure, dissemination, and use of certain identified categories of confidential

information.

       The parties assert in support of their request that protection of the identified

categories of confidential information is necessary because Plaintiffs’ claims relate to

certain agreements entered into by the parties, which contain confidential pricing

information provided by Johnson Control Fire Protection LP.
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       For good cause shown under Fed. R. Civ. P. 26(c), the court grants the parties’ joint

request and hereby enters the following Protective Order:

       1.     Scope. All documents and materials produced in the course of discovery of

this case, including initial disclosures, responses to discovery requests, all deposition

testimony and exhibits, and information derived directly therefrom (hereinafter collectively

“documents”), are subject to this Order concerning Confidential Information as set forth

below. As there is a presumption in favor of open and public judicial proceedings in the

federal courts, this Order will be strictly construed in favor of public disclosure and open

proceedings wherever possible.

       2.     Definition of Confidential Information.            As used in this Order,

“Confidential Information” is defined as information that the producing party designates

in good faith has been previously maintained in a confidential manner and should be

protected from disclosure and use outside the litigation because its disclosure and use is

restricted by statute or could potentially cause harm to the interests of disclosing party or

nonparties.   For purposes of this Order, the parties will limit their designation of

“Confidential Information” to the following categories of information or documents:

   • Documents containing quotes for services, invoices for services, or receipts for
     services provided by JCFP.
   • Agreements between the parties related to services performed by JCFP.
   • Documents related to JCFP’s acquisition costs of materials, profit margins on
     services, or customer pricing.


Information or documents that are available to the public may not be designated as

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Confidential Information.

       3.     Form and Timing of Designation. The producing party may designate

documents as containing Confidential Information and therefore subject to protection

under this Order by marking or placing the words “CONFIDENTIAL” (hereinafter “the

marking”) on the document and on all copies in a manner that will not interfere with the

legibility of the document. As used in this Order, “copies” includes electronic images,

duplicates, extracts, summaries or descriptions that contain the Confidential Information.

The marking will be applied prior to or at the time the documents are produced or

disclosed. Applying the marking to a document does not mean that the document has any

status or protection by statute or otherwise except to the extent and for the purposes of this

Order. Copies that are made of any designated documents must also bear the marking,

except that indices, electronic databases, or lists of documents that do not contain

substantial portions or images of the text of marked documents and do not otherwise

disclose the substance of the Confidential Information are not required to be marked. By

marking a designated document as confidential, the designating attorney or party appearing

pro se thereby certifies that the document contains Confidential Information as defined in

this Order.

       4.     Inadvertent Failure to Designate. Inadvertent failure to designate any

document or material as containing Confidential Information will not constitute a waiver

of an otherwise valid claim of confidentiality pursuant to this Order, so long as a claim of


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confidentiality is asserted within ten days after discovery of the inadvertent failure.

       5.      Depositions. Deposition testimony will be deemed confidential only if

designated as such when the deposition is taken or within a reasonable time period after

receipt of the deposition transcript. Such designation must be specific as to the portions

of the transcript and/or any exhibits to be protected.

       6.      Protection of Confidential Material.

               (a)     General Protections. Designated Confidential Information must be

used or disclosed solely for purposes of prosecuting or defending this lawsuit, including

any appeals, [or any other related legal proceeding brought by one of the parties to this

litigation].

               (b)     Who May View Designated Confidential Information. Except

with the prior written consent of the designating party or prior order of the court, designated

Confidential Information may only be disclosed to the following persons:


               (1)     The parties to this litigation, including any employees, agents,
                       and representatives of the parties;1

               (2)     Counsel for the parties and employees and agents of counsel;


1
 If the confidential documents contain highly sensitive trade secrets or other highly sensitive com-
petitive or confidential information and disclosure to another party would result in demonstrable
harm to the disclosing party, then the parties may stipulate or move for the establishment of an
additional category of protection, (e.g., Attorneys’ Eyes Only) that prohibits disclosure of such
documents or information to that category or that limits disclosure only to specifically designated
in-house counsel or party representative(s) whose assistance is reasonably necessary to the conduct
of the litigation and who agree to be bound by the terms of the Order.


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             (3)    The court and court personnel, including any special master
                    appointed by the court, and members of the jury;

             (4)    Court reporters, recorders, and videographers engaged for
                    depositions;

             (5)    Any mediator appointed by the court or jointly selected by the
                    parties;

             (6)    Any expert witness, outside consultant, or investigator retained
                    specifically in connection with this litigation, but only after
                    such persons have completed the certification contained in
                    Attachment A, Acknowledgment and Agreement to be Bound;

             (7)    Any potential, anticipated, or actual fact witness and his or her
                    counsel, but only to the extent such confidential documents or
                    information will assist the witness in recalling, relating, or
                    explaining facts or in testifying, and only after such persons
                    have completed the certification contained in Attachment A;

             (8)    The author or recipient of the document (not including a person
                    who received the document in the course of the litigation);

             (9)    Independent providers of document reproduction, electronic
                    discovery, or other litigation services retained or employed
                    specifically in connection with this litigation; and

             (10)   Other persons only upon consent of the producing party and on
                    such conditions as the parties may agree.


             (c)    Control of Documents. The parties must take reasonable efforts to

prevent unauthorized or inadvertent disclosure of documents designated as containing

Confidential Information pursuant to the terms of this Order. Counsel for the parties must

maintain a record of those persons, including employees of counsel, who have reviewed or

been given access to the documents along with the originals of the forms signed by those

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persons acknowledging their obligations under this Order.

       7.     Filing of Confidential Information. In the event a party seeks to file any

document containing Confidential Information subject to protection under this Order with

the court, that party must take appropriate action to insure that the document receives

proper protection from public disclosure including: (a) filing a redacted document with the

consent of the party who designated the document as confidential; (b) where appropriate

(e.g., in relation to discovery and evidentiary motions), submitting the document solely for

in camera review; or (c) when the preceding measures are inadequate, seeking permission

to file the document under seal by filing a motion for leave to file under seal in accordance

with D. Kan. Rule 5.4.6.


       Nothing in this Order will be construed as a prior directive to allow any document

to be filed under seal. The parties understand that the requested documents may be filed

under seal only with the permission of the court after proper motion. If the motion is

granted and the requesting party permitted to file the requested documents under seal, only

counsel of record and unrepresented parties will have access to the sealed documents. Pro

hac vice attorneys must obtain sealed documents from local counsel.

       8.     Challenges to a Confidential Designation.           The designation of any

material or document as Confidential Information is subject to challenge by any party.

Before filing any motion or objection to a confidential designation, the objecting party must

meet and confer in good faith to resolve the objection informally without judicial

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intervention. A party that elects to challenge a confidentiality designation may file and

serve a motion that identifies the challenged material and sets forth in detail the basis for

the challenge. The burden of proving the necessity of a confidentiality designation

remains with the party asserting confidentiality. Until the court rules on the challenge, all

parties must continue to treat the materials as Confidential Information under the terms of

this Order.

       9.      Use of Confidential Documents or Information at Trial or Hearing.

Nothing in this Order will be construed to affect the use of any document, material, or

information at any trial or hearing. A party that intends to present or that anticipates that

another party may present Confidential Information at a hearing or trial must bring that

issue to the attention of the court and the other parties without disclosing the Confidential

Information. The court may thereafter make such orders as are necessary to govern the

use of such documents or information at the hearing or trial.

       10.     Obligations on Conclusion of Litigation.

               (a)   Order Remains in Effect. Unless otherwise agreed or ordered, all

provisions of this Order will remain in effect and continue to be binding after conclusion

of the litigation.

               (b)   Return of Confidential Documents.           Within ten days after this

litigation concludes by settlement, final judgment, or final order, including all appeals, all

documents designated as containing Confidential Information, including copies as defined


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above, must be returned to the party who previously produced the document unless: (1)

the document has been offered into evidence or filed without restriction as to disclosure;

(2) the parties agree to destruction of the document to the extent practicable in lieu of

return; 2 or (3) as to documents bearing the notations, summations, or other mental

impressions of the receiving party, that party elects to destroy the documents and certifies

to the producing party that it has done so.

               (c)     Retention     of    Work      Product.     Notwithstanding      the    above

requirements to return or destroy documents, counsel may retain attorney work product,

including an index which refers or relates to designated Confidential Information, so long

as that work product does not duplicate verbatim substantial portions of the text or images

of designated documents. This work product will continue to be confidential under this

Order. An attorney may use his or her own work product in subsequent litigation provided

that its use does not disclose Confidential Information.

       11.     Order Subject to Modification. This Order is subject to modification by

the court on its own motion or on motion of any party or any other person with standing

concerning the subject matter. The Order must not, however, be modified until the parties

have been given notice and an opportunity to be heard on the proposed modification.


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 The parties may choose to agree that the receiving party must destroy documents containing
Confidential Information and certify the fact of destruction, and that the receiving party must not
be required to locate, isolate and return e-mails (including attachments to e-mails) that may include
Confidential Information, or Confidential Information contained in deposition transcripts or drafts
or final expert reports.


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       12.    No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing in this Order will be construed or presented as a judicial determination that any

document or material designated as Confidential Information by counsel or the parties is

entitled to protection under Fed. R. Civ. P. 26(c) or otherwise until such time as the court

may rule on a specific document or issue.

       13.    Persons Bound by Protective Order. This Order will take effect when

entered and is binding upon all counsel of record and their law firms, the parties, and

persons made subject to this Order by its terms.

       14.    Jurisdiction. The court’s jurisdiction to enforce the provisions of this

Order will terminate on the final disposition of this case. But a party may file a motion to

seek leave to reopen the case to enforce the provisions of this Order.


       15.    Applicability to Parties Later Joined. If additional persons or entities

become parties to this lawsuit, they must not be given access to any Confidential

Information until they execute and file with the court their written agreement to be bound

by the provisions of this Order.

       16.    Protections Extended to Third-Party’s Confidential Information. The

parties agree to extend the provisions of this Protective Order to Confidential Information

produced in this case by third parties, if timely requested by the third party.

       17.    Confidential Information Subpoenaed or Ordered Produced in Other

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Litigation. If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this

action as Confidential Information, the receiving party must so notify the designating party,

in writing, immediately and in no event more than three business days after receiving the

subpoena or order. Such notification must include a copy of the subpoena or court order.

       The receiving party also must immediately inform in writing the party who caused

the subpoena or order to issue in the other litigation that some or all of the material covered

by the subpoena or order is the subject of this Order. In addition, the receiving party must

deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

       The purpose of imposing these duties is to alert the interested persons to the

existence of this Order and to afford the designating party in this case an opportunity to try

to protect its Confidential Information in the court from which the subpoena or order

issued. The designating party bears the burden and the expense of seeking protection in

that court of its Confidential Information, and nothing in these provisions should be

construed as authorizing or encouraging a receiving party in this action to disobey a lawful

directive from another court. The obligations set forth in this paragraph remain in effect

while the party has in its possession, custody, or control Confidential Information

designated by the other party to this case.

       18.    Inadvertent Disclosure of Confidential Information Covered by


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Attorney-Client Privilege or Work Product. The inadvertent disclosure or production

of any information or document that is subject to an objection on the basis of attorney-client

privilege or work-product protection, including, but not limited, to information or

documents that may be considered Confidential Information under the Protective Order,

will not be deemed to waive a party’s claim to its privileged or protected nature or estop

that party or the privilege holder from designating the information or document as

attorney-client privileged or subject to the work product doctrine at a later date. Any party

receiving any such information or document must return it upon request to the producing

party. Upon receiving such a request as to specific information or documents, the receiving

party must return the information or documents to the producing party within three days,

regardless of whether the receiving party agrees with the claim of privilege and/or

work-product protection. Disclosure of the information or document by the other party

prior to such later designation will not be deemed a violation of the provisions of this Order.

The provisions of this section constitute an order pursuant to Rules 502(d) and(e) of the

Federal Rules of Evidence.

       IT IS SO ORDERED.

       Dated: November 5, 2020, at Kansas City, Kansas.

                                            s/ James P. O’Hara
                                           James P. O’Hara
                                           U.S. Magistrate Judge




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WE SO MOVE                                WE SO MOVE
and agree to abide by the                 and agree to abide by the
terms of this Order                       terms of this Order


/s/ Tyler Peters
Tyler Peters, KS #15002                   /s/ Michael S. Dodig
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                                    ATTACHMENT A


                               ACKNOWLEDGMENT
                                     AND
                             AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Protective Order

dated _______________ in the case captioned, _________________________________,

and attached hereto, understands the terms thereof, and agrees to be bound by its terms.

The undersigned submits to the jurisdiction of the United States District Court for the

District of Kansas in matters relating to this Protective Order and understands that the terms

of the Protective Order obligate him/her to use materials designated as Confidential

Information in accordance with the order solely for the purposes of the above-captioned

action, and not to disclose any such Confidential Information to any other person, firm, or

concern, except in accordance with the provisions of the Protective Order.

        The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.

Name:                       ______________________________________

Job Title:                  ______________________________________

Employer:                   ______________________________________

Business Address: ___________________________

                     ___________________________

Date: _________________             ___________________________
                                    Signature
